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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
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     ATTORNEYS FOR DEBTOR

     In re:                                                      Chapter 11
                                     1
     LTL MANAGEMENT LLC,                                         Case No.: 21-30589 (MBK)
                                Debtor.                          Judge: Michael B. Kaplan

     LTL MANAGEMENT LLC,
                                Plaintiff,
     v.
                                                                 Adv. No. 22-1393 (MBK)
     JACQUELINE MIRIAM MOLINE,
                                Defendant.

     LTL MANAGEMENT LLC,
                                Plaintiff,
     v.
                                                                 Adv. No. 22-1231 (MBK)
     STATE OF NEW MEXICO, ex rel. HECTOR H.
     BALDERAS, Attorney General, and STATE OF
     MISSISSIPPI, ex rel. LYNN FITCH, Attorney
     General,
                                Defendants.


 1
              The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
              501 George Street, New Brunswick, New Jersey 08933.



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                  NOTICE OF AMENDED2 AGENDA OF MATTERS SCHEDULED
                      FOR HEARING ON JANUARY 18, 2023 AT 10:00 A.M.

            At the direction of the Court, the hearing will be held via Zoom only. All parties
                      who intend to present argument should contact Chambers at
            chambers_of_mbk@njb.uscourts.gov and provide the name and email address of
               the speaker, as well as provide information regarding the party the speaker
                            represents and/or the purpose of the appearance.
            Parties are directed to https://www.njb.uscourts.gov/LTL for observing via Zoom.


 CONTESTED MATTERS NOT GOING FORWARD IN THE BASE CASE

 1.      Motion of the Official Committee of Talc Claimants for Order Confirming
         Procedures for the Reimbursement of Expenses Incurred by Committee Member
         Representatives [Dkt. 3111].

         Status: By agreement between the Official Committee of Talc Claimants, the
         United States Trustee, the Debtor, and with approval of the Court, this matter has
         been adjourned to February 14, 2023.

 2.      The Official Committee of Tort Claimants’ Motion to Compel [Dkt. 3336] (the “Motion
         to Compel”).

         Status: This matter was previously heard at the December 20, 2022 hearing. As a
         result of continuing discussions between the Official Committee of Tort Claimants
         and the Debtor, the insurance discovery requests in the Motion to Compel have been
         largely resolved. The remainder of the Motion to Compel has been adjourned to
         February 14, 2023.

 3.      Debtor’s Motion for an Order Directing Plaintiff Law Firms to Disclose Third-Party
         Funding Arrangements [Dkt. 3551].

         Status: The Court has adjourned this matter to February 14, 2023.

 4.      Maune Raichle Hartley French & Mudd, LLC’s Motion to Disqualify Kenneth R.
         Feinberg as Rule 706 Expert and to Terminate Estimation [Dkt. 3553].

         Status: The Court has advised it will decide this matter on the papers without
         additional oral argument.




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         Amended agenda items appear in bold.


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 MATTERS NOT GOING FORWARD IN THE STATE OF NEW MEXICO AND STATE
 OF MISSISSIPPI ADVERSARY PROCEEDING

 5.      Order Granting the Debtor’s Request for Preliminary Injunctive Relief [Dkt. 3217; Adv.
         No. 22-1231, Dkt. 33].

         Status: The Court has adjourned the hearing with respect to the continuation of the
         automatic stay and preliminary injunction to February 14, 2023.

 MATTERS GOING FORWARD IN THE MOLINE ADVERSARY PROCEEDING

 6.      Motion of Defendant Dr. Jacqueline Miriam Moline for Entry of an Order Granting
         Defendant Dr. Jacqueline Miriam Moline’s Motion for a Thirty (30) Day Extension of
         time to (1) Answer or Otherwise Move in Response to LTL Management LLC’s
         Complaint and (2) Respond to Plaintiff’s Motion for Expedited Discovery [Adv. No. 22-
         1393, Dkt. 13] (the “Extension Motion”).

         Status: This matter is going forward.

         Objection Deadline: At hearing.

         Related Documents:

         A.       Complaint [Adv. No. 22-1393, Dkt. 1].

         B.       Summons and Notice of Pretrial Conference in an Adversary Proceeding [Adv.
                  No. 22-1393, Dkt. 5].

         C.       Plaintiff’s Motion for Limited Expedited Discovery [Adv. No. 22-1393, Dkt. 9].

         D.       Application for Order Shortening Time with Respect to the Extension Motion
                  [Adv. No. 22-1393, Dkt. 14].

         E.       Order Granting Application to Shorten Time with Respect to the Extension
                  Motion [Adv. No. 22-1393, Dkt. 15].

         F.       Correspondence from Fox Rothschild to the Court, dated January 17, 2023
                  [Adv. No. 22-1393, Dkt. 19].

         Objections Received:

         G.       Plaintiff’s Partial Opposition to Defendant’s Motion to Extend Time [Adv.
                  No. 22-1393, Dkt. 20].




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  Dated: January 17, 2023                     WOLLMUTH MAHER & DEUTSCH LLP

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